[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION ON DEFENDANTS' MOTION TO SET ASIDE DEFAULT
The historical facts of the case are-well known to the parties and need not be reiterated here. It is apparent to the court that each party assigns to the other the reasons for the delay in moving this case toward trial.
The court is reluctant to deny the defendants the opportunity to litigate their case in spite of their excuse that the delay in pleading was the result of an ongoing, mutual desire to reach a settlement.
As was the conclusion reached by the court in ArdmareConstruction Co. v. United American Guaranty, Et Al, 1995 WL 611737 (Oct. 10, 1995; Silbert, J.), this court has concluded that the interests of justice are best served by granting the motion to set aside the default. An order vacating the default for failure to appear will enter upon the payment by the defendants of the reasonable legal fees and costs incurred by the plaintiff as a result of its need to file various motions in order to obtain responsive pleadings by the defendants as well as for all proceedings relating to the defendants' efforts to open the default. The default will open upon the filing in court by the plaintiff of a written document acknowledging such payment.
Barry, J. CT Page 8390